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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-395-CV



IN RE DANIEL BLUMBERG &nbsp;&nbsp;&nbsp;							RELATORS

AND BLUMBERG &amp; BAGLEY, L.L.P.	



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL &nbsp;B: &nbsp;WALKER, LIVINGSTON, and MCCOY, JJ.



DELIVERED: &nbsp;November 27, 2007 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




